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Rev'd by:__ 4 —

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

Cheeeall RANDALL

Complaint for a Civil Case
Case No. b CIC 25 CV2 i 47

pine fine [ial name of each plaintiff who as ting (to be filled in by the Clerk's Office)
this complaint, If the names of all the plaintiffs

CemeOOe fit the space above, please ite ee Jury Tal: 4 Yee Cl No
attached” in the space and attach an additional
(check one)

page with the full list of names.)

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(Write the full name of each defendant who is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional

page with the full list of names.)

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I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach
additional pages if needed.

Name S NeeBaL RANDAL L
Street Address OK 267,

City and County ot out Cy Howard County
State and Zip Code MD, i | O4'|

Telephone Number 4u0 = 615- 5 l Si ‘

E-mail Address Shetrallrandal| Gada 04 |. Corl

B. The Defendant(s)

Provide the information below for each defendant named in the complaint,
whether the defendant is an individual, a government agency, an organization, or
a corporation. For an individual defendant, include the person’s job or title (if
known). Attach additional pages if needed.

Defendant No. 1

Name Fozzutv Mananenert CONAN,

Job or Title
(if known)

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os ea County ALLEN Der , Yances Keove's County
State and Zip Code ‘Many land, Z OFUD0
Telephone Number _H D- S40 - “Fy |

E-mail Address
(if known)

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Defendant No. 2

Name

Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

Defendant No. 3

Name

Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

Defendant No. 4

Name

Job or Title

(if known)
Street Address

City and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

(If there are more than four defendants, attach an additional page
providing the same information for each additional defendant.)
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Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two
types of cases can be heard in federal court: cases involving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising
under the United States Constitution or federal laws or treaties is a federal question case.
Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the amount at stake is more than $75,000 is a diversity of citizenship
case. In a diversity of citizenship case, no defendant may be a citizen of the same State
as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)

Federal question O Diversity of citizenship
Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United
States Constitution that are at issue in this case.

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B. If the Basis for Jurisdiction Is Diversity of Citizenship
1 The Plaintiff(s)
a. If the plaintiff is an individual

The plaintiff, (name) , is a citizen of
the State of (name)

b. If the plaintiff is a corporation

The plaintiff, (name) , is incorporated
under the laws of the State of (name)
and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional
page providing the same information for each additional plaintiff.)

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2. The Defendant(s)

a. If the defendant is an individual
The defendant, (name) , is a citizen of
the State of (name) . Or isa citizen of

(foreign nation)

b. If the defendant is a corporation Conary

The defendant, (name) Pop wi i lanan€ ne" , is
mR eM under the laws of the State of (name)

RENAN D , and has jts principal place of
business in the State of (name) i Prana l . Oris
incorporated under the laws of (foreign nation)

, and has its principal place of

business in (name)

(If more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant
owes or the amount at stake—is more than $75,000, not counting interest
and costs of court, because (explain):

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Write a short and plain statement of the claim. Do not make legal arguments. State as
briefly as possible the facts showing that each plaintiff is entitled to the damages or other
relief sought. State how each defendant was involved and what each defendant did that

caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
of that involvement or conduct. If more than one claim is asserted, number each claim
and write a short and plain statement of each claim in a separate paragraph. Attach

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additional pages if needed.

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Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to
order. Do not make legal arguments. Include any basis for claiming that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and the basis for these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive money damages. For any request for injunctive relief, explain why
monetary damages at a later time would not adequately compensate you for the injuries
on sustained, are sustaining, or will sustain as a result of the events described above, or

such compensation could not be measured.
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Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-
related papers may be served. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

N
Date steteing hl \y = ” 029

Signature of Plaintiff HE2ZL_—

Printed Name of Plaintitt _QNERALL RANDALL

(If more than one plaintiff is named in the complaint, attach an additional
certification and signature page for each additional plaintiff.)

B. For Attorneys

Date of signing: , 20

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Address

Telephone Number
Email Address

